Case 23-58494-sms             Doc 146        Filed 10/30/24 Entered 10/30/24 22:45:02                              Desc Main
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   GEORGIA NORTHERN BANKRUPTCY
   PDF FILE WITH AUDIO FILE ATTACHMENT

         23-58494

         RA Custom Design, Inc.




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